




NO. 07-06-0477-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 6, 2007



______________________________





IN THE INTEREST OF A.T.D., A CHILD



_________________________________



FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;



NO. 70,341-D; HONORABLE DON EMERSON, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

By the entry of an 
Order of Termination, 
signed November 21, 2006, the trial court terminated the parental rights of Appellant, Channon Michelle Adams, to her child, A.T.D. &nbsp;Appellant perfected this accelerated appeal by filing
 
a 
pro 
se notice of appeal on December 11, 2006. &nbsp;The clerk’s record and reporter’s record were both filed and &nbsp;Appellant’s brief was originally due 
February 12, 2007. 
 &nbsp;&nbsp;On February 20
th
 this Court notified Appellant that unless the brief, or a &nbsp;response reasonably explaining Appellant’s failure to file a brief, were filed on or before 
March 2, 2007
, the appeal would be subject to dismissal for want of prosecution. &nbsp;Tex.R.App.P. 38.8(a). &nbsp;On March 14, 2007, Appellant filed a 
Motion For Extension of Time to File Appellant’s Brief
, which motion was granted thereby extending the deadline for the filing of Appellant’s brief until the earlier of twenty days following the filing of a supplemental reporter’s record or 
April 13, 2007
.
 
 Appellant did not seek an extension of this deadline; however, the reporter did request an extension of time to file the supplemental reporter’s record. &nbsp;The reporter’s request was granted on April 17, 2007, extending the deadline for filing the supplemental reporter’s record until May 15, 2007. At the same time, this Court 
sua sponte
 extended the deadline for filing Appellant’s brief until 20 days following the filing of the supplemental record. &nbsp;The supplemental record was filed on May 15, 2007, making 
Appellant’s brief due on Monday, 
June 4, 2007
.
 
 On June 11
th
 this Court again notified Appellant that unless the brief, or a &nbsp;response reasonably explaining Appellant’s failure to file a brief, were filed on or before 
June 21, 2007
, the appeal would be subject to dismissal for want of prosecution &nbsp;
without further notice
 pursuant to Rules 38.8(a)(1) and 42.3(b) of the Texas Rules of Appellate Procedure. &nbsp;To date this Court has received neither a brief nor another request for extension of time to file Appellant’s brief. &nbsp;

Having failed to meet any of the five previous deadlines for the filing of Appellant’s brief, the appeal is dismissed.



Per Curiam


